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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

JOSEPH A. MUSA and
MARY ANN MUSA,
Plaintiffs,

Vv. Case No.: 3:15-cv-861-J-25PDB

WELLS FARGO DELAWARE TRUST
COMPANY and MORGAN L. WEINSTEIN,

Defendants.

ORDER

THIS CAUSE is before the Court on Plaintiff's Second Amended
Complaint (Dkt. 8) and the Court's February 3, 2016, Show Cause Order
(Dkt. 10) requiring Plaintiffs to perfect service on Defendants and file proof
thereof. Upon consideration, the Court finds as follows:

|. Background

On July 10, 2015, Plaintiffs filed this action naming Wells Fargo

Delaware Trust Company (Wells Fargo) and attorney Morgan L. Weinstein

as Defendants due to their participation in an action of foreclosure filed
against Plaintiffs. On September 2, 2015, this Court issued an Order

dismissing Plaintiffs’ Complaint with leave to amend within thirty (30) days.

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(Dkt. 5). Plaintiffs filed their First Amended Complaint on September 30,
2015. (Dkt. 6).

On October 8, 2015, this Court issued an Order dismissing Count III
of Plaintiffs’ First Amended Complaint with prejudice with leave to amend
the remaining claims within thirty (30) days. (Dkt. 7). Plaintiffs filed their
Second Amended Complaint on November 4, 2015. (Dkt. 8). However, on
the same day, Plaintiffs subsequently filed their Notice of Appeal (Dkt. 9)’
as to the Court's October 8, 2015, Order (Dkt. 7).

On February 3, 2016, upon finding nothing in the record showing that
any of the Defendants had been properly served, nor had

Plaintiffs even presented the Clerk with a completed summons for
signature and seal, this Court issued a Show Cause Order requiring
Plaintiffs to perfect service on Defendants and file proof thereof. (Dkt. 10).

At that point, more than two hundred (200) days had passed since Plaintiffs

‘ Plaintiffs improperly appealed to the United States Court of Appeals for the
Federal Circuit. See Notice (Dkt. 9). On February 12, 2016, the U.S. Court of
Appeals for the Federal Circuit, transferred Plaintiffs’ Appeal to the United States
Court of Appeals for the Eleventh Circuit (Dkt. 11) and issued a Mandate on
March 21, 2016. (Dkt. 12). Additionally, without waiving his right to service of
process, Defendant Weinstein filed a Response (Federal Circuit, Case No. 16-
1225, Dkt. 7) arguing that: (1) he had yet to be properly served; (2) the Court
lacked subject-matter jurisdiction; and (3) the District Court's Order should be
affirmed. Importantly, neither Defendant has filed a pleading in the District Court
or otherwise waived service.

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filed their initial Complaint. (/d. at p. 2). Recognizing that Plaintiffs are
proceeding pro se, the Court's Order provided Plaintiffs with some
instruction on perfecting service (id. at p. 3-5), and further directed Plaintiffs
to websites where they could review the Federal Rules of Civil Procedure
and the Local Rules for the Middle District of Florida (Id. at p. 5-6). The
Order provided Plaintiffs with an additional forty-five (45) days in which to
perfect service and file proof thereof and warned Plaintiffs that the “failure
to timely respond...may result in the dismissal of this action without further
notice from the Court.” (/d. at p. 6). Plaintiffs failed to respond to this
Court's Order. /d.

On May 3, 2016, the United States Court of Appeals for the Eleventh
Circuit issued an Order sua sponte dismissing Plaintiffs’ Appeal for lack of
jurisdiction. (Dkt. 13). Specifically, the Eleventh Circuit found that
Plaintiffs’ filing of their Second Amended Complaint within the time allowed
rendered this Court's Order (Dkt. 7) not final or appealable. (Eleventh
Circuit Order, Dkt. 13).

ll. Analysis

The filing of a notice of appeal is an event of jurisdictional significance

that generally “divests the district court of its control over those aspects of

the case involved in the appeal.” Blinco v. Green Tree Servicing, LLC, 366

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F.3d 1249, 1252 (11th Cir. 2004). However, a possible exception is where
the district court continues the litigation for the purpose of placing the
parties on notice of an important collateral issue that will determine whether
the case should be litigated at all. See id. at 1251. In this case, the Court
issued a Show Cause Order informing Plaintiffs that service had not been
perfected and required Plaintiffs to perfect service on Defendants and file
proof thereof. (Dkt. 10).

The “district court may declare that an appeal is frivolous, and if it is
the district court may carry on with the case.” Blinco, 366 F.3d at 1252. As
Plaintiffs filed their Second Amended Complaint within the time allowed by
the Court, the Order appealed by Plaintiffs is not final or appealable.
Garfield v. NDC Health Corp., 466 F.3d 1255, 1260-61 (11th Cir. 2006).
Next, as it is well settled that 15 U.S.C. § 1635(f) is a statute of repose with
a three (3) year statutory notice to rescind requirement that is not subject to
tolling, Plaintiffs’ Appeal of the Court’s dismissal of its15 U.S.C. § 1635
Claim constitutes a frivolous appeal. Specifically, as Plaintiffs’ First
Amended Complaint alleges that they entered into the subject mortgage
agreement with First Security Funding, LLC on July 18, 2007 (Dkt. 6, p.
13), and Plaintiffs allege that they did not serve a notice to rescind upon

Defendants until May 6, 2015, Plaintiffs’ § 1635 Claim is "indisputably

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meritless" Neitzke v. Williams, 490 U.S. 319, 327 (1989), relies on factual
allegations which are "clearly baseless" Denton v. Hernandez, 504 U.S. 25,
32 (1992), and has little or no chance of success Bilal v. Driver, 251 F.3d
1346, 1349 (11th Cir. 2001). Consequently, the Court finds that Plaintiffs’
Appeal is frivolous.

Although the Court maintained the ability to “carry on with the case”
Blinco, 366 F.3d at 1252, instead, the only action taken by the Court was
“in aid of the appeal.” U.S. v. Diveroli, 729 F.3d 1339, 1341 (11th Cir.
2013). Specifically, the record failed to show service on Defendants was
had although more than two hundred (200) days had passed since
Plaintiffs filed their initial Complaint. Also, as none of the Defendants
waived service, the Court lacks personal jurisdiction over Defendants.
Therefore, the Court issued a Show Cause Order placing Plaintiffs on
notice of the deficiency in an effort to cure the Court’s jurisdictional issue.

“Service of process is a jurisdictional requirement: a court lacks
jurisdiction over the person of a defendant when that defendant has not
been served.” Pardazi v. Cullman Med. Ctr., 896 F.2d 1313, 1317 (11th
Cir.1990). Additionally, “where service of process is insufficient, the court
has no power to render judgment and the judgment is void.” /n re

Worldwide Web Sys., Inc., 328 F.3d 1291, 1299 (11th Cir.2003) (citing

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Varnes v. Local 91, Glass Bottle Blowers Ass'n, 674 F.2d 1365, 1368 (11th
Cir.1982). Further, “unless the objection to personal jurisdiction was
waived in a pre-answer motion or other responsive pleading or by general
appearance,” the court lacks personal jurisdiction over the defendant.
Kabbaj v. Obama, 568 Fed. Appx’ 875, 881 (11th Cir. 2014) (citing In re
Worldwide Web Sys., Inc., 328 F.3d at 1299-1300).

Fed. R. Civ. P. Rule 4(m) “grants discretion to the district court to
extend the time for service of process even in the absence of a showing of
good cause.” Horenkamp v. Vanwinkle and Company, Inc., 402 F.3d 1129,
1132 (11th Cir. 2005). Further, “the district court must still consider
whether any other circumstances warrant an extension of time based on
the facts of the case.” Lepone-Dempsey v. Carroll County Commissioners,
et al., 476 F.3d 1277 (11th Cir. 2007); Melton v. Wiley, 262 Fed. App’x 921
(11th Cir. 2008) (affirming the District Court’s decision not to extend time to
perfect service and dismissal without prejudice where Plaintiff failed to seek
an extension of time to perfect service-even after Defendant persisted in
arguing his insufficiency defense in multiple motions and Defendant did not

attempt to evade service or conceal a defect in service).? “Only after

2 Per 11th Cir. Rule 36-1 (2006), unpublished opinions may be cited as
persuasive authority.

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considering whether any such factors exist may the district court exercise
its discretion and either dismiss the case without prejudice or direct that
service be affected within a specified time.” Lepone-Dempsey v. Carroll
County Commissioners, et al., 476 F.3d at 1282 (11th Cir. 2007).

Here, Plaintiffs’ failure to timely serve the Defendants was not the
fault of some outside factor. Plaintiffs predicament is of their own making.
Melton, 262 Fed. App’x at 924. Specifically, Plaintiffs were first put on
notice of their failure to perfect service by Defendant Weinstein’s Response
(Federal Circuit, Case No. 16-1225, Dkt. 7) arguing that he had yet to be
properly served and subsequently by this Court’s Show Cause Order (Dkt.
10) issued on February 3, 2016. Further, the Court provided Plaintiffs with
an additional forty-five (45) days in which to perfect service and file proof
thereof and warned Plaintiffs that the “failure to timely respond...may result
in the dismissal of this action without further notice from the Court.” (/d. at
p. 6). Plaintiffs failed to respond to this Court's Order (id.) and
notwithstanding this Court’s instruction on perfecting service, have failed to
even begin the process of service by presenting the Clerk with a completed
summons for signature and seal. Importantly, Defendants have not
attempted to evade service or conceal a defect in service. Melton, 262

Fed. App’x at 924 (11th Cir. 2008).

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At this point, it has been more than one (1) year since Plaintiffs
initially filed this action and more than two hundred and ninety-five (295)
days since Plaintiffs filed their Second Amended Complaint. However,
Plaintiffs have yet to perfect service pursuant to Fed. R. Civ. P. Rule 4,
have not shown “good cause” for failing to timely serve Defendants and no
factors exist that warrant an extension of time for Plaintiffs to perfect
service.> Lepone-Dempsey, 476 F.3d at 1282 (11th Cir. 2007). As such,
this case is due to be dismissed. Lepone-Dempsey, 476 F.3d at 1282
(11th Cir. 2007); Melton v. Wiley, 262 Fed. App’x 921 (11th Cir. 2008).

Accordingly, it is ORDERED:

1. This case is DISMISSED for failure to perfect service.

2. The Clerk is directed to close this case.

Cc _
DONE AND ORDERED this 24 day orf augas 2016.
HENRY HEE ADAMS, I I

United States District Judge

Copies to: Counsel of Record
Pro se Plaintiffs

3 Notwithstanding the Court having provided instructions to Plaintiffs regarding
utilizing “numbered paragraphs” such that their Complaint complies with the
Federal Rules of Civil Procedure on three occasions, Plaintiffs’ Second Amended
Complaint fails to include “numbered paragraphs.” (See Dkts. 3, 5 and 7).

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